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Attorneys for Peak Medical Montana Operations, LLC
d/b/a Butte Center

                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DIVISION OF MONTANA
                           BUTTE DIVISION

GINA JAEGER, individually, AND AS  ) Cause No. CV-16-30-BU-SEH
PERSONAL REPRESENTATIVE OF         )
THE ESTATE OF HER SISTER           )
CHARLENE HILL,                     )
                                   ) PEAK MEDICAL MONTANA
            Plaintiff,             ) OPERATIONS, LLC d/b/a BUTTE
                                   ) CENTER’S MOTION TO
     vs.                           ) CORRECT CAPTION TO ADD
                                   ) PEAK AND DROP GENESIS
GENESIS HEALTHCARE, INC., d/b/a )
THE BUTTE CENTER, JOHN DOE         )
LLC’s 1-10; JOHN DOE, INC.’S 1-10, )
                                   )
            Defendants.            )
     _________________________________________________________
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      Peak Medical Montana Operations, LLC d/b/a Butte Center (“Peak”) moves

the Court in accordance with Federal Rule of Civil Procedure 21 to correct the

caption to reflect it as a party Defendant in this action and to drop Genesis

Healthcare, Inc. (“Genesis”). Plaintiff served the Butte Center, which is the

registered assumed business name of Peak. Peak has appeared in this action on

behalf of the Butte Center. Further, Genesis should be dismissed from the action

in accordance with Federal Rule of Civil Procedure 12(b) and has moved the Court

for its dismissal. Accordingly, Peak respectfully requests the Court Order the

caption be amended to add Peak as a party Defendant and to drop Genesis

Healthcare, Inc., d/b/a the Butte Center.

      Pursuant to Local Rule 7.1(c)(1), Peak has contacted counsel for Plaintiff.

Plaintiff objects to this motion. Genesis Healthcare, Inc. has no objection and

agrees the caption should be amended to add Peak as a party Defendant and drop

Genesis Healthcare, Inc., d/b/a the Butte Center.

      Dated June 30, 2016.

                                       CROWLEY FLECK PLLP


                                       /s/ Brett P. Clark
                                              Kiely Keane
                                              Brett P. Clark
                                              Charles K. Smith
                                              Attorneys for Peak Medical Montana
                                              Operations, LLC d/b/a Butte Center



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